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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

CiVil Action NO. 01 Z10-CV-00210

 

PROOF OF SERVICE
(This section should not be f led with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SumII'lOrlS fOI‘ (narne of individual and title, ifany) DA (//J/ /dé ry el 2 `>l,'/(`

 

 

Was received by me on (dare) "”/.°Q') §o ui~H/' A Q@L`; UA L \_A “,» gp 96ch Meo§l. DM
w ( S»CD)
Smrgp¢§oa<w c c>éw~)‘r’t>r rs ve ,L,Nbou~-°s»¥'¢~ <_
El l personally served the summons on the individual at (place) R»e§e\r>de,v‘u \\LD --S ‘
OIl (daz‘e) ; ()r

 

El l left the summons at the individual’s residence or usual place of abode With (name)

, a person of suitable age and discretion Who resides there,

 

 

 

 

 

on (daze) , and mailed a copy to the individual’s last known address; or
E{served the summons on (name ofindividual) 54 e f ,_1 / 60 pp.£ c , Who is
designated by law to accept service of process on behalf of (name of orgamzatzon)

011 (date) > fy ; OI`
El l returned the summons unexecuted because ; or
|:l Oth€r (specijj)):
l\/Iy fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

z/;z;r@ /<%

Se)%'s signature

/"{/,LLLé// §-A‘:Mzzeaf

Prz`nted name and/ title

2209 wkrs éLm )é/ 717-um 54 24/4/

Server s address

Additional information regarding attempted service, etc:

